     Case 2:16-cr-00145-TOR     ECF No. 348    filed 03/29/18   PageID.1692 Page 1 of 2




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 2                                                                         FILED IN THE
                                                                       U.S. DISTRICT COURT
                                                                 EASTERN DISTRICT OF WASHINGTON
 3
 4                                                                Mar 29, 2018
                                                                      SEAN F. MCAVOY, CLERK
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 6
 7                        UNITED STATES DISTRICT COURT
 8                      EASTERN DISTRICT OF WASHIGNTON
 9
10   UNITED STATES OF AMERICA,                      No. 2:16-CR-00145-TOR-2
11
12                      Plaintiff,                  ORDER MODIFYING PRETRIAL
                                                    RELEASE CONDITIONS
13                       v.
14   DERRICK J. FINCHER,                                    MOTION GRANTED
15                                                            (ECF No. 345)
16                      Defendant.
17
18         Before the Court is Defendant’s Unopposed Motion to Modify Conditions of
19   Release. ECF No. 345. Defendant is currently post-adjudication, but pre-sentence,
20   and as such, his motion is still governed by 18 U.S.C. § 3142. See ECF No. 328.
21         Specifically, Defendant asks the Court to modify Condition of Release
22   Number 14, which requires to remain in the Eastern District of Washington while
23   the case is pending. ECF No. 22 at 2. Defendant recently retained new counsel,
24   ECF No. 337, 338, whose primary office is in Coeur D’Alene, Idaho. ECF No.
25   345 at 1. Additionally, Defendant recites that his employment requires him to
26   travel to Idaho as well. ECF No. 345 at 2.
27         Defendant recites in his motion that neither the U.S. Attorney’s Office nor
28   the U.S. Probation Office object to the modification. ECF No. 345 at 2.

     ORDER - 1
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 1         IT IS HEREBY ORDERED that Defendant’s Motion, ECF No. 345, is
 2   GRANTED. Defendant’s conditions of pretrial release at ECF No. 22 are
 3   modified as follows:
 4
 5   (14) Defendant shall remain in the Eastern District of Washington and Idaho while
          the case is pending. By timely motion clearly stating whether opposing
 6        counsel and Pretrial Services object to the request, Defendant may be
 7        permitted to travel outside this geographical area.
 8
 9         All other conditions not inconsistent herewith remain in full force and effect.
10         IT IS SO ORDERED.
11         DATED March 29, 2018.
12
                                 _____________________________________
13                                         JOHN T. RODGERS
14                                UNITED STATES MAGISTRATE JUDGE
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     ORDER - 2
